Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 1 of 14 PagelD: 2

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UNITED STATES DISTRICT COURT =
FOR THE DISTRICT OF NEW JERSEY TE ED

 

UNITED STATES ex rel.

S/N PRECISION ENTERPRISES, INC. 6-SE SF
D/B/A PACAMOR KUBAR BEARINGS Civil ActionNo.: 7 Zz 4)

BRINGING THIS ACTON ON

BEHALF OF THE UNITED STATES FILED UNDER SEAL
OF AMERICA

c/o Christopher J. Christies

Acting United States Attorney JURY TRIAL DEMAND
970 Broad Street, 7" Floor

Newark, NJ 07102

-and-

c/o Alberto Gonzales

Attorney General of the United States
Department of Justice

950 Pennsylvania Avenue

Washington, D.C. 20530
Plaintiffs,
~against-
AXSYS TECHNOLOGIES, INC.

Defendant.

 

COMPLAINT FOR VIOLATIONS OF
FEDERAL FALSE CLAIMS ACT

Plaintiff, S/N Precision Enterprises, Inc. d/b/a Pacamor Kubar Bearings,
(hereinafter “Relator” or “S/N Precision”), by and through its attorney, Glenn H. Ripa,
complaining of Defendant AXSYS Technologies, Inc., hereby alleges as follows:

1- This is an action brought pursuant to 31 U.S.C. §3730(b) to recover
damages and civil penalties on behalf of the United States of America arising from false

claims made by AST Bearings, a division of the Defendant corporation, AXSYS

 

 
Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 2 of 14 PagelD: 3

Technologies, Inc., in violation of the Federal False Claims Act, 31 U.S.C. §3729, as
amended. This action further seeks to recover damages and equitable relief on behalf of
S/N Precision arising from the company’s personal knowledge of the importing and bail
bearing industry.

PARTIES

2- S/N Precision is a New York corporation with its principal place of
business located at 145 Jordan Road, Troy, New York 12180.

3- Upon information and belief, AXSYS is a Delaware corporation with its
principal place of business located at 175 Capital Boulevard, Rocky Hill, Connecticut.

4. Upon information and belief, AST Bearings is a wholly owned and
controiled division of AXSYS Technologies, Inc., and not a separate and distinct legal
entity.

5- Upon information and belief, AST Bearings principal place of business is
located at 115 Main Road, Montville, New Jersey 07045, District of New Jersey.
AXSYS Technologies, Inc. and its division, AST Bearings, are hereinafter collectively
referred to as (“AST”).

JURISDICTION

6- The court has jurisdiction over the subject matter of this action pursuant to
28 U.S. C. §1331 and 31 U.S.C, §3732.

7- The amount in controversy exceeds $75,000.00, exclusive of interests or

costs.

 
Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 3 of 14 PagelD: 4

VENUE

8- Venue in the District of New Jersey is proper pursuant to 28 U.S.C,
§§1391(b) and (c).

9- Upon information and belief, Defendant AST is located and transacts
business in the State of New Jersey, District of New Jersey.

STATUE OF LIMITATIONS

10- The 10-year statute of limitations applies based on 31 U.S.C. §3731(b)(2)
in that the facts material to the right of action were not known by the United States
government more than three (3} years prior to the filing of this action.

FACTS

11- S/N Precision is an American-owned domestic producer and seller of
miniature and instrument ball bearings to customers in the United States.

12- AST is a purchaser and importer of foreign-produced miniature and
instrument ball bearings. AST resells said ball bearings to purchasers in the United
States.

13- AST has and continues to market itself as the exclusive U.S. stocking
distributor for EZO/Sapporo Precision, Japan (hereinafter “Sapporo”), of a specific type
of ball bearing produced by Sapporo in Japan (hereinafter “EZO” miniature and
instrument ball bearings) and exported to the United States. The Department of
Commerce, International Trade Administration (hereinafter “Commerce” or “DOC”),
conducted administrative reviews of three Japanese ball bearing exporters, Kita Nihon
Seiki., Co. Ltd., Sapporo Precision, Inc. and Sanbi Co. Ltd., in order to determine the

amount of antidumping duties or “margin” that should be assessed under U.S.

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Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 4 of 14 PagelD: 5

antidumping laws (19 U.S.C. §§1673-1673h) on the bearings sold and exported by said
companies and imported into the United States. In response to Commerce’s
questionnaires to these three entities, it received one consolidated response in which the
companies acknowledged their affiliation with one another. Given these affiliations,
Commerce calculated a single weighted average margin for their sales in the United
States and referred to them collectively as Sapporo throughout the agency’s notice
published in the Federal Register.

14- According to the documents filed with U.S. Customs and Border
Protection (hereinafter, “Customs” or “U.S. Customs”), AST purchases, imports and
resells the subject EZO miniature and instrument ball bearings in the United States.
However, said ball bearings are said to be produced by Koyo Seiko Co. Ltd. and
imported through Sanbi or other suppliers in Japan, not Sapporo.

15- In accordance with its statutory and regulatory authority, Commerce has
the authority to direct U.S Customs to collect antidumping duties assessed upon foreign-
made goods, including miniature and instrument ball bearings such as EZO ball bearings,
imported into the United States.

16- Antidumping duties that are assessed by the DOC upon foreign-made
goods imported into the United States are collected by U.S. Customs in addition to any
regular import duties assessed upon such goods, and are intended to offset the amount by
which such imported goods are sold at less than fair value, that is, the difference between

the higher value at which such goods are sold in their home market (normal value) and

the lower value at which such goods are sold in the United States.

 

 
Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 5 of 14 PagelD: 6

17- The DOC initiates an antidumping investigation upon the petition of an
interested domestic party. During the investigation, the DOC assigns individual
antidumping “cash deposit rates” or margin to each identified producer or reseller of
goods subject to the investigation, and also establishes a cash deposit rate for “all other”
producers or resellers of the goods. U.S. Customs collects the assigned cash-deposit
rates at the time of entry of the goods into the United States.

18- If the DOC determines that dumping exists and the United States
International Trade Commission (hereinafter “ITA”) determines that there is injury to a
United States industry, then the DOC issues a final antidumping order under which
antidumping duties are assessed and collected at the cash-deposit rates ultimately
determined and assigned to each identified producer or reseller. If the producer of the
goods exported by a reseller without its own rate is identified, then the producer’s rate
applies to the reseller’s goods. If the producer is not identified by a reseller without its
own rate, then the rate assigned to “all others” applies.

19- After one year from the month that the antidumping order is published,
and annually thereafter, any interested party may request administrative reviews of
imports from a particular producer or reseller during the prior year. Affected entries are
suspended until a determination is made by the DOC following such review. If no
review of a particular producer or reseller is requested, previously established rates will
continue to apply. The rates calculated for each respondent in the administrative review

also serve as the new cash-deposit rate for entries of subject merchandise filed after the

date of publication of the final results of the review.

 

 
Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 6 of 14 PagelD: 7

20- Under the DOC’s clarification of its rules effective May 1, 2003, if an
administrative review of a producer of covered goods is requested by an interested party,
then all of the producer’s sales, including any sales to resellers, are investigated by the
DOC unless the reseller has its own rate and the covered goods were sold to the reseller
by the producer without knowledge that the covered goods were destined for the United
States.

21- If pursuant to an administrative review, the DOC determines that the
producer knew or should have known that the merchandise it sold to the reseller was
destined for the United States, then the producers’ rate as determined by the DOC will
apply to the reseller’s goods. If the DOC determines that the producer did not know that
the merchandise it sold to the reseller was destined for the United States, however, then
either the reseller’s rate or, if none, the “all other” rate will apply to the reseller’s goods.

22- From the period of May 1, 1996 and to and including April 30, 1999,
Sapporo Precision did not have a specific antidumping duty rate assigned to it for goods
that it produced and were entered into the United States. However, Japanese
manufacturers in general, including Sapporo, had a high antidumping rate or margin
under the “all other” cash deposit rate. There were a few Japanese manufacturers which
were not involved in dumping practices and were assigned a lower duty rate such as
Koyo Seiko Co. Ltd., Sapporo on the other hand, was well-known for their dumping
practices. Accordingly, if Sapporo Precision directly exported its miniature and
instrument bail bearings to the United States during that time, its product would have

been subject to the higher “all other” cash-deposit rate that was in effect.
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Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 7 of 14 PagelD: 8

23- The “all other” cash-deposit rates in effect during the years referred to in

 

paragraph 22 were as follows:
(a) May 1, 1996 - April 30, 1997: 45.83% ad valorem
(b) May i, 1997 - April 30, 1998: 45.83% ad valorem
(c) May 1.1998 - April 30, 1999: 45.83% ad valorem

Afier the Department of Commerce’s administrative review of Sapporo, the Government
imposed an even higher antidumping duty rate on Sapporo in particular and those

Sapporo rates were as follows:

(dq) May 1, 1999 - April 30, 2000: 73.55% ad valorem
(e) May 1, 2000 - Aprii 30, 2001: 73.55% ad valorem

24- Upon information and belief, Sapporo and AST entered into a scheme to
avoid and/or circumvent the “all other” 45.83% and the specific Sapporo rate of 73.55%
ad valorem that would have applied to entries into the United States of Sapporo’s
miniature and instrument ball bearings at said times.

25- Upon information and belief, rather than directly exporting its miniature
and instrument ball bearings to the United States, Sapporo manufactured and delivered
complete or substantially complete miniature and instrument ball bearings to Koyo Seiko
Co., Ltd. (hereinafter “Koyo”) another Japanese producer and exporter of miniature and
instrument ball bearings. Sapporo instructed Koyo to return the bearings it did not order
to Sanbi Co., Ltd (hereinafter “Sanbi”). Sanbi then exported the miniature and
instrument ball bearings that Koyo returned to it to AST in the United States and

represented that the ball bearings were produced by Koyo or other Japanese entity which
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Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 8 of 14 PagelD: 9

had a low antidumping duty rate or margin that applied to Koyo, rather than the
substantially higher rate antidumping duty rate that applied to Sapporo. During this time,
AST may have also been falsely using other Japanese company names other than Koyo,
which also had low duty rates.

26- Upon information and belief, AST knew that the miniature and instrument
ball bearings that it received from Sanbi at that time were produced by Sapporo, and not
by Koyo or any other Japanese manufacturer, for sale in the United States.

27- Upon information and belief, as the self-described exclusive U.S. stocking
distributor for EZO/Sapporo Precision (Japan) precision bearings, AST was aware that
the miniature and instrument ball bearings that it received from Sanbi were, in fact, EZO
miniature and instrument ball bearings produced by Sapporo.

28- Upon information and belief, in furtherance of their illegal scheme to
evade the respective 45.83% and 73.55% ad valorem antidumping duties assessed by the
DOC on the importation and entry into the United States of EZO miniature and
instrument ball bearings (described above in paragraph 23), AST with the knowledge and
assistance of Sapporo, misrepresented to Customs the origin of the miniature and
instrument ball bearings by falsely identifying Koyo and/or other Japanese
manufacturers, and not Sapporo as the producer of the miniature and instrument ball
bearings, although it knew that those miniature and instrument ball bearings were
produced by Sapporo.

29- During the period of time in question, specifically May 1, 1996 - April 30,

2001, the cash-deposit rate for Koyo was as follows:
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Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 9 of 14 PagelD: 10

(a)
(b)
(c)
(d)
(e)

May 1, 1996 - April 30, 1997:
May 1, 1997 - April 30, 1998:
May 1, 1998 - April 30, 1999:
May 1, 1999 - April 30, 2000:

May 1, 2000 - April 30, 2001:

 

6.17% ad valorem
7.23% ad valorem
5.39% ad valorem
10.10% ad valorem

7.68% ad valorem

30- Upon information and belief, as a result of these misrepresentations and

deceptions, AST was able to enter EZO miniature and instrument ball bearings into the

United States by paying the lower Koyo or other Japanese manufacturer cash-deposit

rates (listed in paragraph 29) instead of the higher Sapporo rates (listed in paragraph 23).

The difference between the two is as follows:

(a)
(b)
(c)
(d)
(e)

May 1, 1996 - April 30, 1997:
May 1, 1997 - April 30, 1998:
May 1, 1998 - Apri] 30, 1999:
May 1, 1999 - April 30, 2000:

May 1, 2000 - April 30, 2001:

39.66% ad valorem
38.60% ad valorem
40.44% ad valorem
63.45% ad valorem

65.87% ad valorem

31- Upon information and belief, as a result of these misrepresentations and

deceptions, AST marketed and sold the EZO miniature and instrument bal! bearings to

consumers in the United States at a price below which AST would have been able to

market and sell those bearings if AST had paid the proper antidumping duties for those

ball bearings.

32- Upon information and belief, and during the period of May 1, 1996 - April

30, 2001, AST imported approximately $2.5 million dollars (per year) of EZO miniature

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Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 10 of 14 PagelD: 11

and instrument ball bearings and entered them at the lower Koyo rate. Accordingly, and
with respect to the subject time periods discussed (May 1, 1996 - April 30, 2001), AST

evaded the Customs antidumping duties in the following amounts:

 

(a) May 1, 1996 - April 30, 1997: $991,500.00
(b) May 1, 1997 - April 30, 1998: $965,000.00
{c) May 1.1998 - April 30, 1999: $1,011,000.00
(d) May 1.1999 - April 30, 2000: $1,586,250.00
(ec) May 1, 2000 - April 30, 2001: $1,646,750.00

33- | Upon information and belief, AST evaded paying the U.S. government
approximately $6,200,500.00 in Customs antidumping duties by misrepresenting the
origin of the miniature and instrument ball bearings by mislabeling and/or failing to
identify Sapporo as the producer of the ball bearings. AST knew that those miniature and
instrument ball bearings were produced by Sapporo since: (a) Only a handful of
companies can produce miniature and instrument ball bearings of this type world-wide
and each and every one of them is well known by every one in the industry including
AST; (b) Koyo never produced these types of ball bearings; (c) Sapporo has always been
AST’s source of supply for these types of ball bearings long before the antidumping
duties were imposed; and (d) Once the antidumping duty rates were reduced, AST ended
the facade of using the shell companies to import through and returned to importing
directly from Sapporo. This whole scheme was intentionally devised by AST to defraud
the United States Government by evading the lawful antidumping duties that U.S.

Customs should have collected on bearings manufactured by Sapporo and/or other
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Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 11 of 14 PagelD: 12

Japanese manufacturers, and to gain an unfair competitive edge over United States
companies. The United States government imposed these high antidumping duties
against Sapporo and other Japanese manufacturers to prevent these types of foreign
entities from gaining an unfair advantage over the U.S. manufacturers of these types of
ball bearings by selling their bearings in the United States at less than their fair value.
AST’s scheme was a fraudulent attempt to circumvent the very reason that the U.S.
antidumping law was enacted, that is, to prevent foreign products from being sold in the
United States at less than their fair value and thereby injuring U.S. industry.

34-—- Title 31 U.S.C. §3729, The False Claims Act, provides that any person
who knowingly submits a false or fraudulent claim to the Government for payment or
approval is liable for a civil penalty of up to $10,000.00 for each such claim, plus three
times the amount of the damages sustained by the Government, and attorney’s fees. The
Act provides that any person having information regarding a false or fraudulent claim
against the Government to bring a private cause of action for himself and on behalf of the
Government and to share in any recover. The complaint is to be filed under seal for 60
days (without service on the Defendant during such 60-day period) to enable the
Government to conduct its own investigation without the Defendant’s knowledge and to
determine whether to join the action.

35- Based upon these provisions, S/N Precision, the Relator, seeks to recover
damages and civil penalties arising from AST’s presentation of false claims to the United

States Government.

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Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 12 of 14 PagelD: 13

AS AND FOR A FIRST CAUSE OF ACTION

36- The allegations contained in paragraphs “1” through “35,” inclusive, are
fully incorporated by reference herein.

37- By engaging in the foregoing activities, AST has falsely designated the
origin of miniature and instrument ball bearings in connection with the importation of
those goods into the United States, and the subsequent sale of those goods to consumers
in the United States.

38- Defendants deceptions, false designations, false representations and/or
false descriptions have caused confusion, mistake or deception as to the origin,
sponsorship or approval of their goods.

39- Defendant’s deceptions, false designations, false representations, and/or
false descriptions have resulted in lost revenues (in the form of customs duties) to the
U.S. government.

40- The damages sustained by U.S. Customs due to the evasion of customs
duties, is estimated to be around $6,200,500.00.

AS AND FOR A SECOND CAUSE OF ACTION

41- The allegations contained in paragraphs “1” through “40,” inclusive, are
fully incorporated by reference herein.

42- Pursuant to 31 U.S.C. §3729(a)(7), the Defendant is liable to the U.S.
Government for three times the amount of damages. It is estimated that the Defendant is

liable to the government for $18,601,500.00.

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Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 13 of 14 PagelD: 14

AS AND FOR A THIRD CAUSE OF ACTION
43- The allegations contained in paragraphs “1” through “42,” inclusive, are
fully incorporated by reference herein.
44- Pursuant to 31 U.S.C. §3729(a)(7), the Defendant is liable to the
Government for up to $10,000.00 per fraudulent declaration. Upon information and
belief, a breakdown of the false declarations made are as follows:

(a) 3 shipments per month, 36 shipments per year for 4 years equals
144 fraudulently identified entries over the span of 4 years.

45- Based upon information and belief, the Defendant is liable for
$1,440,000.00 in civil penalties.

46- The total liability owed by the Defendant to the U.S. Government is
$20,041 500.00.

AS AND FOR A FOURTH CAUSE OF ACTION

47- The allegations contained in paragraphs “1” through “46,” inclusive, are
fully incorporated by reference herein.

48- Based upon information and belief, the Defendant, knowingly and/or with
reckless disregard for the truth, made false declarations to the U.S. Government by
falsely claiming the origin of the subject ball bearings. By its conduct, the Defendant has
purposefully avoided its obligation to pay the government the appropriate antidumping
duties assessed under the subject antidumping duty order for ball bearings from Japan.

49- The Defendant, by its conduct as described above, is liable for civil
penalties, treble damages, attorney’s fees and costs for violating the False Claims Act.

PRAYER FOR RELIEF
WHEREFORE, Relator prays for judgment against the Defendant as follows:

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Case 2:06-cv-05538-FSH-PS Document 1-1 Filed 11/17/06 Page 14 of 14 PagelD: 15

1- That Defendant ceases and desists from violating 31 U.S.C. §3729;
2- That this Court enter judgment against the Defendants in an amount equal
to three times the amount of damages the United States Government has sustained

because of Defendant’s actions, plus a civil penalty of not less than $5,000.00 and not

more than $10,000.00 for each violation of 31 U.S.C. §3729;

 

3- That Relator be awarded the maximum amount allowed pursuant to 31

| U.S.C. §3730{d) of the False Claims Act;

4. That Relator be awarded all costs and expenses of this action, including

attorney’s fees; and

5- That Relator recover such other relief as the Court deems just and proper.

kbar Jo Fp
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Attorney for the Plaintiff
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New York, New York 10007
(212) 732-5310

Relator hereby demands trial by jury

Glenn H. Ripa

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